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                    IN THE UNITED STATES DISTRICT COURT FOR lyL                           »           UUuA
                             EASTERN DISTRICT
                             EASTERN DISTRICT OF
                                              OE VIRGINIA
                                                 VIRCINTA                     1 - ^^aiMNDRlA.VlRGiNlL^

                                       Alexandria Division



 UNITED STATES OF AMERICA                               No. l:20-cr-145


         V.                                             The Honorable T.S. Ellis, III

 MAKSIM BEREZAN,

                        Defendant.


                                   STATEMENT OF FACTS


       The United States and the defendant, MAKSIM BEREZAN,agree that the following

facts are true and correct, and that, had this matter proceeded to trial, the United States would

have proven them beyond a reasonable doubt with admissible and credible evidence.

        1.     From at least in or around July 2009, through at least in or around December

2015, BEREZAN knowingly and unlawfully conspired with other persons known and unknown

to commit a variety of offenses, including:

               a.      Devising and intending to devise a scheme and artifice to defraud and for

obtaining money and property by means of materially false and fraudulent pretenses,

representations, and promises, such scheme affecting a financial institution, and for the purposes

of executing such scheme and artifice transmitted and caused to be transmitted, by means of wire

communication in interstate and foreign commerce, certain writings, signs, and signals, in

violation of Title 18, U.S. Code, Sections 1343 and 1349, as charged in Count One of the

Indictment.


               b.      Knowingly and with intent to defraud, trafficking in and using one or

more unauthorized access devices during a one-year period, and by such conduct obtaining
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